       Case 1:24-cv-06542-JGK            Document 1      Filed 08/29/24     Page 1 of 17




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 Attorneys for Plaintiff



                             UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF NEW YORK


 ANN WILCOXON,                                    Case No.:

                           Plaintiff,             Complaint For:

                 vs.                              (1) Violation of § 14 (a) of the Securities
                                                      Exchange Act of 1934
 TELLURIAN, INC., MARTIN                          (2) Violation of § 20(a) of the Securities
 HOUSTON, DILLON J. FERGUSON,                         Exchange Act of 1934
 DIANA DERYCZ-KESSLER, DON
 TURKLESON, JONATHAN GROSS, and
 JEAN ABITEBOUL,                                   JURY TRIAL DEMANDED

                           Defendants.


       Plaintiff, Ann Wilcoxon (“Plaintiff”), by and through her attorneys, alleges upon

information and belief, except for those allegations that pertain to her, which are alleged upon

personal knowledge, as follows:

                                 SUMMARY OF THE ACTION

       1.      Plaintiff brings this stockholder action against Tellurian, Inc. (“Tellurian” or the

“Company”) and the Company’s Board of Directors (the “Board” or the “Individual Defendants,”

and collectively with the Company, the “Defendants”), for violations of Sections 14(a) and 20(a)

of the Securities and Exchange Act of 1934 (the “Exchange Act”) as a result of Defendants’ efforts

to sell the Company to subsidiaries of Woodside Energy Group Ltd. (“Woodside”), as a result of




                                               -1-
       Case 1:24-cv-06542-JGK           Document 1        Filed 08/29/24     Page 2 of 17




an unfair process, and to enjoin an upcoming stockholder vote on a proposed all cash transaction

(the “Proposed Transaction”).

       2.       The terms of the Proposed Transaction were memorialized in a July 22, 2024, filing

with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the Definitive

Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the deal, Woodside

will acquire Tellurian for $1.00 per share in cash at closing. The implied total enterprise value of

the transaction, including net debt, is approximately $1.2 billion.

       3.       On August 16, 2024, the Company filed its Preliminary Proxy Statement on

Schedule PREM14A with the United States Securities and Exchange Commission (the “SEC”).

Thereafter, on August 27, 2024, the Company filed its Definitive Proxy Statement on Schedule

DEFM14A with the SEC (together, the “Proxy Statement”).

       4.       The Proposed Transaction is unfair for a number of reasons. Significantly, it

appears as though the Board has entered into the Proposed Transaction to procure for themselves

and senior management of the Company significant and immediate benefits. For example: certain

Company executives are entitled to severance packages, often referred to as “golden parachute”

packages, entitling same to millions of dollars not shared by Plaintiff and other Company common

stockholders.

       5.       The Proxy Statement is materially deficient, deprives Plaintiff of the information

necessary to make an intelligent, informed and rational decision of whether to vote in favor of the

Proposed Transaction, and is thus in violation of the Exchange Act. As detailed below, the Proxy

Statement omits and/or misrepresents material information concerning, among other things: (a)

the sales process and in particular certain conflicts of interest for management; (b) the financial

projections for Tellurian, provided by the Company to the Company’s financial advisor, Lazard




                                                -2-
         Case 1:24-cv-06542-JGK          Document 1       Filed 08/29/24      Page 3 of 17




Frères & Co. LLC (“Lazard”); and (c) the data and inputs underlying the financial valuation

analyses, if any, that purport to support the fairness opinion created by Lazard, and provided to the

Board.

         6.       Absent judicial intervention, the Proposed Transaction will be consummated,

resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.

                                             PARTIES

         7.       Plaintiff is a citizen of Colorado and, at all times relevant hereto, has been a

Tellurian stockholder.

         8.       Defendant Tellurian engages in the natural gas business worldwide. Tellurian is

incorporated under the laws of the State of Delaware and has its principal place of business at 1201

Louisiana Street, Suite 3100, Houston, TX 77002. Shares of Tellurian common stock are traded

on the New York Stock Exchange (the “NYSE”) under the symbol “TELL.”

         9.       Defendant Martin Houston (“Houston”) has been the Chair of the Board of

Directors of the Company at all relevant times.

         10.      Defendant Dillon J. Ferguson (“Ferguson”) has been a director of the Company

at all relevant times.

         11.      Defendant Diana Derycz-Kessler (“Derycz-Kessler”) has been a director of the

Company at all relevant times.

         12.      Defendant Don Turkleson (“Turkleson”) has been a director of the Company at

all relevant times.

         13.      Defendant Jean Abiteboul (“Abiteboul”) has been a director of the Company at all

relevant times.




                                                -3-
        Case 1:24-cv-06542-JGK           Document 1        Filed 08/29/24      Page 4 of 17




        14.    Defendants identified in ¶¶ 9-13 are collectively referred to as the “Individual

Defendants.”

        15.    Non-Party Woodside Energy Group Ltd. engages in the exploration, evaluation,

development, production, and marketing of hydrocarbons in the Asia Pacific, Africa, the Americas,

and the Europe.

                                 JURISDICTION AND VENUE

        16.    This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act. This action is not a collusive one to

confer jurisdiction on a court of the United States, which it would not otherwise have. The Court

has supplemental jurisdiction over any claims arising under state law pursuant to 28 U.S.C. § 1367.

        17.    Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District or is an individual who is either present

in this District for jurisdictional purposes or has sufficient minimum contacts with this District as

to render the exercise of jurisdiction over Defendant by this Court permissible under traditional

notions of fair play and substantial justice.

        18.    Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the

Individual Defendants, as Company officers or directors, has extensive contacts within this

District; for example, the Company’s stock trades on the NASDAQ which is headquartered in this

District.

                                SUBSTANTIVE ALLEGATIONS

Company Background




                                                 -4-
       Case 1:24-cv-06542-JGK           Document 1       Filed 08/29/24      Page 5 of 17




       19.     Defendant Tellurian operates as a digital healthcare platform company. Its

Tellurian platform connects people, patients, providers, employers, health plans, government

organizations, and communities that optimize individual and population-wide well-being.

The Flawed Sales Process

       20.     As detailed in the Proxy Statement, the process deployed by the Individual

Defendants was flawed and inadequate, was conducted out of the self-interest of the Individual

Defendants and was designed to effectuate a sale of the Company to Woodside.

       21.     In addition, the Proxy Statement is silent as to the nature of the confidentiality

agreement entered into between the Company and Woodside, and whether this agreement differed

from any other agreement with potentially interested third parties discussed and/or not specifically

mentioned by the Proxy Statement, if so in all specific manners, including all specific terms of any

such included “don’t-ask, don’t-waive” provisions or standstill provisions contained therein,

including, all specific conditions, if any, under which such provisions would fall away.

       22.     The Proxy Statement fails to disclose the totality of communications regarding

post-transaction employment during the negotiation of the underlying transaction.

       23.     It is not surprising, given this background to the overall sales process, that it was

conducted in an inappropriate and misleading manner.

The Proposed Transaction

       24.     On July 21, 2024, Tellurian and Woodside issued a joint press release announcing

the Proposed Transaction. The press release stated, in relevant part:

       HOUSTON--(BUSINESS WIRE)-- Tellurian Inc. (“Tellurian”) (NYSE American:
       TELL) today announced that it has entered into a definitive agreement with
       subsidiaries of Woodside Energy Group Ltd (“Woodside”) (ASX: WDS) pursuant
       to which Woodside will acquire all the outstanding shares of Tellurian for $1.00
       per share in an all-cash transaction.




                                               -5-
       Case 1:24-cv-06542-JGK              Document 1        Filed 08/29/24         Page 6 of 17




       “This transaction provides substantial and certain value for our shareholders.
       Following our strategic repositioning in December, our new leadership has
       strengthened Tellurian’s position and advanced Driftwood LNG. Woodside’s offer
       reflects this progress, providing a significant premium to our share price,” said
       Martin Houston, Executive Chairman, Tellurian Board of Directors. “After careful
       consideration of Tellurian’s opportunities and challenges, the Board and senior
       management weighed an immediate and significant cash return against the risks
       and costs associated with the timeline to FID and determined that this offer is in
       our shareholders’ best interest. Woodside is a highly credible operator, with better
       access to financial resources and a greater ability to manage offtake risk, and I am
       confident it is the right developer to take Driftwood forward.”

       The acquisition price represents a 75% premium to Tellurian’s closing price on July
       19, 2024, and a 48% premium to Tellurian’s 30-day volume weighted average
       price, which reflect Driftwood LNG’s premier site, fully permitted status, advanced
       stage of pre-FID development and strong relationships with Bechtel, Baker Hughes,
       and Chart. The implied total enterprise value of the transaction, including net debt,
       is approximately $1.2 billion. The transaction, which was unanimously approved
       by both boards of directors, is expected to close in Q4 2024, subject to customary
       closing conditions, including approval from Tellurian shareholders and the receipt
       of regulatory approvals.

Potential Conflicts of Interest

       25.     The breakdown of the benefits of the deal indicates that Tellurian insiders are the

primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders such as

Plaintiff. The Board and the Company’s executive officers are conflicted because they will have

secured unique benefits for themselves from the Proposed Transaction not available to Plaintiff as

a public stockholder of Tellurian.

       26.     In addition, Company insiders currently own large illiquid blocks of company

shares, Company options, Company Restricted Stock, Company RSUs, and Company Tracking

Units, all of which will be converted into the Merger Consideration not shared with public

Company stockholders such as Plaintiff upon the consummation of the Proposed Transaction as

follows:

                                     Shares of
                                     Company                Company                Company
                                     Common      Company    Restricted   Company   Tracking
                                      Stock       Options     Stock       RSUs      Units     Value
Name                                    (#)         (#)        (#)         (#)        (#)      ($)




                                                  -6-
         Case 1:24-cv-06542-JGK               Document 1            Filed 08/29/24           Page 7 of 17




Executive Officers:

Daniel A. Belhumeur                        164,742   80,000       1,170,000             —   178,582     $ 1,513,324

Octávio M.C. Simões (1)                    206,678        —       2,000,000             —         —     $ 2,206,678

Samik Mukherjee                                —          —               —     500,000     280,000     $     780,000

Simon G. Oxley                             144,634        —        200,000      200,000           —     $     544,634

L. Kian Granmayeh (1)                        7,561        —               —             —         —     $        7,561

Khaled A. Sharafeldin                      243,383   58,000        526,500              —   104,762     $     874,645

Charif Souki (1)                       1,659,639          —               —             —   892,857     $ 2,552,496

Directors:

Martin J. Houston                     17,157,397          —               —             —         —     $17,157,397

Jean P. Abiteboul                      1,164,636          —               —             —         —     $ 1,164,636

Diana Derycz-Kessler                   1,335,248          —               —             —         —     $ 1,335,248

Dillon J. Ferguson                         439,281        —               —             —         —     $     439,281

Jonathan S. Gross                          609,559        —               —             —         —     $     609,559

Don A. Turkleson                           421,035        —               —             —         —     $     421,035



         27.       In addition, employment agreements with certain Tellurian executives entitle such

executives to severance packages should their employment be terminated under certain

circumstances. These ‘golden parachute’ packages are significant and will grant each director or

officer entitled to them millions of dollars, compensation not shared by Plaintiff. The golden

parachute compensation is as follows:

                                                           Perquisites/        Tax
                                  Cash          Equity      Benefits      Reimbursement       Other            Total
Name                              ($)(1)        ($)(2)        ($)(3)          ($)(4)          ($)(5)            ($)


Daniel A. Belhumeur             1,870,000     1,170,000        89,459         208,333       4,678,582       $8,016,374




                                                         -7-
        Case 1:24-cv-06542-JGK            Document 1           Filed 08/29/24     Page 8 of 17




Octávio M.C. Simões                 —     2,000,000          —           —             —     $2,000,000

Simon G. Oxley                1,050,000     400,000       89,459    208,333      3,600,000   $5,347,792

L. Kian Granmayeh                   —           —            —           —             —            —

Khaled A. Sharafeldin         1,155,000     526,500       89,459         —       1,685,762   $3,160,082

Charif Souki                        —           —            —           —             —            —



        28.      The Proxy Statement also fails to disclose the totality of communications regarding

post-transaction    employment     during     the     negotiation   of   the    underlying    transaction.

Communications regarding post-transaction employment during the negotiation of the underlying

transaction must be disclosed to stockholders.

        29.      This information is necessary for Plaintiff to understand potential conflicts of

interest of management and the Board, as that information provides illumination concerning

motivations that would prevent fiduciaries from acting solely in the best interests of the Company’s

stockholders.

        30.      Thus, while the Proposed Transaction is not in the best interests of Tellurian,

Plaintiff or Company stockholders, it will produce lucrative benefits for the Company’s officers

and directors.

The Materially Misleading and/or Incomplete Proxy Statement

        31.      The Tellurian Board caused to be filed with the SEC a materially misleading and

incomplete Proxy Statement that, in violation the Exchange Act, failed to provide Plaintiff in her

capacity as a Company stockholder with material information and/or provides materially

misleading information critical to the total mix of information available to Plaintiff concerning the

financial and procedural fairness of the Proposed Transaction.




                                                    -8-
       Case 1:24-cv-06542-JGK            Document 1      Filed 08/29/24      Page 9 of 17




       Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

       to the Proposed Transaction

       32.     The Proxy Statement fails to disclose material information concerning the process

conducted by the Company and the events leading up to the Proposed Transaction. In particular,

the Proxy Statement fails to disclose:

               a. Whether the confidentiality agreements entered into by the Company with

                   Woodside differed from any other unnamed confidentiality agreement entered

                   into between the Company and potentially interested third parties (if any), and

                   if so, in all specific manners;

               b. All specific conditions under which any standstill provision contained in any

                   entered confidentiality agreement entered into between the Company and

                   potentially interested third parties throughout the sales process, including

                   Woodside, would fall away; and

               c. The totality of communications regarding post-transaction employment during

                   the negotiation of the underlying transaction.

       33.     This information is necessary for stockholders to understand potential conflicts of

interest of management and the Board, as that information provides illumination concerning

motivations that would prevent fiduciaries from acting solely in the best interests of Plaintiff and

Company stockholders.

       Omissions and/or Material Misrepresentations Concerning Tellurian’s Financial

       Projections

       34.     The Proxy Statement fails to provide material information concerning financial

projections for Tellurian provided by Tellurian management to the Board and Lazard, and relied




                                                -9-
       Case 1:24-cv-06542-JGK         Document 1        Filed 08/29/24    Page 10 of 17




upon by Lazard in its analysis. The Proxy Statement discloses management-prepared financial

projections for the Company which are materially misleading.

       35.    Notably the Proxy Statement reveals that as part of its analyses, Lazard reviewed,

“various financial forecasts and other data provided to Lazard by the Company relating to the

business of the Company.”

       36.    Therefore, the Proxy Statement should have, but fails to provide, certain

information in the projections that Tellurian management provided to the Board and Lazard.

Courts have uniformly stated that “projections … are probably among the most highly-prized

disclosures by investors. Investors can come up with their own estimates of discount rates or []

market multiples. What they cannot hope to do is replicate management’s inside view of the

company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del.

Ch. 2007).

       37.    With regard to the Summary of the Financial Projections provided by Tellurian

Management, the Proxy Statement fails to disclose material line items for the following metrics:

              a. Phase 1 Net Revenue, including all underlying inputs, metrics, and assumptions

                  used to calculate same;

              b. Phases 2 – 4 Net Revenue, including all underlying inputs, metrics, and

                  assumptions used to calculate same;

              c. Total Project Net Revenue, including all underlying inputs, metrics, and

                  assumptions used to calculate same;

              d. Phase 1 EBITDA, including all underlying inputs, metrics, and assumptions

                  used to calculate same;




                                             - 10 -
       Case 1:24-cv-06542-JGK          Document 1        Filed 08/29/24     Page 11 of 17




               e. Phases 2 – 4 EBITDA, including all underlying inputs, metrics, and

                   assumptions used to calculate same;

               f. Total Project EBITDA, including all underlying inputs, metrics, and

                   assumptions used to calculate same;

               g. Phase 1 Capital Expenditures, including all underlying inputs, metrics, and

                   assumptions used to calculate same;

               h. Phase 2 – 4 Capital Expenditures, including all underlying inputs, metrics, and

                   assumptions used to calculate same;

               i. Total Project Capital Expenditures, including all underlying inputs, metrics, and

                   assumptions used to calculate same;

               j. Phase 1 Levered Free Cash Flow, including all underlying inputs, metrics, and

                   assumptions used to calculate same;

               k. Phases 2 – 4 Levered Free Cash Flow, including all underlying inputs, metrics,

                   and assumptions used to calculate same;

               l. Total Project Levered Free Cash Flow, including all underlying inputs, metrics,

                   and assumptions used to calculate same; and

               m. Corporate Expenses (Unlevered), including all underlying inputs, metrics, and

                   assumptions used to calculate same.

       38.     The Proxy Statement also fails to disclose a reconciliation of all non-GAAP to

GAAP metrics utilized in the projections.

       39.     This information is necessary to provide Plaintiff in her capacity as a Company

stockholder with a complete and accurate picture of the sales process and its fairness. Without this




                                               - 11 -
       Case 1:24-cv-06542-JGK          Document 1       Filed 08/29/24      Page 12 of 17




information, Plaintiff is not fully informed as to Defendants’ actions, including those that may

have been taken in bad faith, and cannot fairly assess the process.

       40.      Without accurate projection data presented in the Proxy Statement, Plaintiff is

unable to properly evaluate the Company’s true worth, the accuracy of Lazard’s financial analysis,

or make an informed decision whether to vote in favor of the Proposed Transaction. As such, the

Board has violated the Exchange Act by failing to include such information in the Proxy Statement.

       Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

       Lazard

       41.      In the Proxy Statement, Lazard describes its fairness opinion and the various

valuation analyses performed to render such opinion. However, the descriptions fail to include

necessary underlying data, support for conclusions, or the existence of, or basis for, underlying

assumptions. Without this information, one cannot replicate the analyses, confirm the valuations,

or evaluate the fairness opinion.

       42.      With respect to the Useful Life Levered Discounted Cash Flow Analysis, the Proxy

Statement fails to disclose:

                a. The inputs, metrics, and assumptions used to determine discount rate range of

                   16.0% to 19.0% utilized; and

                b. The Company’s weighted average cost of capital utilized.

       43.      With respect to the Analyst Price Targets Analysis, the Proxy Statement fails to

disclose:

                a. The specific price targets analyzed; and

                b. The specific Wall Street firms that generated the analyzed price targets.




                                               - 12 -
       Case 1:24-cv-06542-JGK           Document 1         Filed 08/29/24       Page 13 of 17




       44.     These disclosures are critical for Plaintiff to be able to make an informed decision

on whether to vote in favor of the Proposed Transaction.

       45.     Without the omitted information identified above, Plaintiff is missing critical

information necessary to evaluate whether the Proposed Transaction truly maximizes her value

and serves her interest as a stockholder. Moreover, without the key financial information and

related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s

determination that the Proposed Transaction is in her best interests as a public Tellurian

stockholder. As such, the Board has violated the Exchange Act by failing to include such

information in the Proxy Statement.

                                          FIRST COUNT

                        Violations of Section 14(a) of the Exchange Act

                                     (Against All Defendants)

       46.     Plaintiff repeats all previous allegations as if set forth in full herein.

       47.     Defendants have disseminated the Proxy Statement with the intention of soliciting

stockholders, including Plaintiff, to vote in favor of the Proposed Transaction.

       48.     Section 14(a) of the Exchange Act requires full and fair disclosure in connection

with the Proposed Transaction. Specifically, Section 14(a) provides that:

       It shall be unlawful for any person, by the use of the mails or by any means or

       instrumentality of interstate commerce or of any facility of a national securities

       exchange or otherwise, in contravention of such rules and regulations as the [SEC]

       may prescribe as necessary or appropriate in the public interest or for the protection

       of investors, to solicit or to permit the use of her name to solicit any proxy or




                                                - 13 -
       Case 1:24-cv-06542-JGK           Document 1         Filed 08/29/24   Page 14 of 17




       consent or authorization in respect of any security (other than an exempted security)

       registered pursuant to section 78l of this title.

       49.     As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

       No solicitation subject to this regulation shall be made by means of any proxy

       statement, form of proxy, notice of meeting or other communication, written or

       oral, containing any statement which, at the time and in the light of the

       circumstances under which it is made, is false or misleading with respect to any

       material fact, or which omits to state any material fact necessary in order to make

       the statements therein not false or misleading or necessary to correct any statement

       in any earlier communication with respect to the solicitation of a proxy for the same

       meeting or subject matter which has become false or misleading.

       50.     The Proxy Statement was prepared in violation of Section 14(a) because it is

materially misleading in numerous respects and omits material facts, including those set forth

above. Moreover, in the exercise of reasonable care, Defendants knew or should have known that

the Proxy Statement is materially misleading and omits material facts that are necessary to render

them non-misleading.

       51.     The Individual Defendants had actual knowledge or should have known of the

misrepresentations and omissions of material facts set forth herein.

       52.     The Individual Defendants were at least negligent in filing a Proxy Statement that

was materially misleading and/or omitted material facts necessary to make the Proxy Statement

not misleading.

       53.     The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, and Plaintiff will be deprived of her entitlement to decide whether to vote her shares in




                                                - 14 -
       Case 1:24-cv-06542-JGK            Document 1         Filed 08/29/24       Page 15 of 17




favor of the Proposed Transaction on the basis of complete information if such misrepresentations

and omissions are not corrected prior to the stockholder vote regarding the Proposed Transaction.

                                         SECOND COUNT

                         Violations of Section 20(a) of the Exchange Act

                                (Against all Individual Defendants)

        54.     Plaintiff repeats all previous allegations as if set forth in full herein.

        55.     The Individual Defendants were privy to non-public information concerning the

Company and its business and operations via access to internal corporate documents, conversations

and connections with other corporate officers and employees, attendance at management and

Board meetings and committees thereof and via reports and other information provided to them in

connection therewith. Because of their possession of such information, the Individual Defendants

knew or should have known that the Proxy Statement was materially misleading to Plaintiff in her

capacity as a Company stockholder.

        56.     The Individual Defendants were involved in drafting, producing, reviewing and/or

disseminating the materially false and misleading statements complained of herein. The Individual

Defendants were aware or should have been aware that materially false and misleading statements

were being issued by the Company in the Proxy Statement; and nevertheless, approved, ratified

and/or failed to correct those statements, in violation of federal securities laws. The Individual

Defendants were able to, and did, control the contents of the Proxy Statement. The Individual

Defendants were provided with copies of, reviewed and approved, and/or signed the Proxy

Statement before its issuance and had the ability or opportunity to prevent its issuance or to cause

it to be corrected.




                                                 - 15 -
       Case 1:24-cv-06542-JGK          Document 1        Filed 08/29/24      Page 16 of 17




       57.     The Individual Defendants also were able to, and did, directly or indirectly, control

the conduct of Tellurian’s business, the information contained in its filings with the SEC, and its

public statements. Because of their positions and access to material non-public information

available to them but not the public, the Individual Defendants knew or should have known that

the misrepresentations specified herein had not been properly disclosed to and were being

concealed from Plaintiff and Company, and that the Proxy Statement was misleading. As a result,

the Individual Defendants are responsible for the accuracy of the Proxy Statement and are therefore

responsible and liable for the misrepresentations contained herein.

       58.     The Individual Defendants acted as controlling persons of Tellurian within the

meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

Individual Defendants had the power and authority to cause Tellurian to engage in the wrongful

conduct complained of herein. The Individual Defendants controlled Tellurian and all of its

employees. As alleged above, Tellurian is a primary violator of Section 14 of the Exchange Act

and SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are liable pursuant to

section 20(a) of the Exchange Act.

       WHEREFORE, Plaintiff demands injunctive relief, in her favor and against the

Defendants, as follows:

       A.      Enjoining the Proposed Transaction;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

       setting it aside or awarding rescissory damages to Plaintiff;

       C.      Directing the Individual Defendants to exercise their fiduciary duties to disseminate

       a Proxy Statement that does not contain any untrue statements of material fact and that

       states all material facts required in it or necessary to make the statements contained therein




                                               - 16 -
     Case 1:24-cv-06542-JGK          Document 1       Filed 08/29/24     Page 17 of 17




     not misleading;

     D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

     Plaintiff’s attorneys’ and experts’ fees; and

     E.      Granting such other and further relief as this Court may deem just and proper.

                               DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a jury on all issues which can be heard by a jury.


Dated: August 29, 2024                       BRODSKY & SMITH

                                       By:   Evan J. Smith
                                             Evan J. Smith
                                             240 Mineola Boulevard
                                             Mineola, NY 11501
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                                             Counsel for Plaintiff




                                             - 17 -
